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EXHIBIT N
Case 3:09-cv-05191-CRB Document127-14 Filed 01/21/11 Page2of3.

Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]

Sent: Thursday, December 09, 2010 2:29 PM

To: Brenner, Wendy

Subject: RE: Enyart: Proposal for Third Preliminary Injunction

Thanks, Wendy.

A additional thought: if NCBE is to provide the laptop and load the software, it might further help avoid the technological
issues that have occurred in the past to load the versions that Stephanie currently uses. Stephanie currently uses Word
2003, Windows XP, ZoomText 9.18.9.135 and JAWS 11.01467.

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
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woeee Original Message-----

From: Brenner, Wendy [mailto:BRENNERWJ@cooley.com]
Sent: Thursday, December 09, 2010 2:26 PM

To: Anna Levine

Subject: RE: Enyart: Proposal for Third Preliminary Injunction

Hi Anna ~ Thanks for the ideas. | will need to discuss these with NCBE. | will do that, and get back to you.

Wendy Brenner

Cooley LLP

3175 Hanover Street

Palo Alto, CA 94304-1130

Direct: (650) 843-5371 + Fax: (650) 849-7400

From: Anna Levine [mailto:alevine@dralegal.org]

Sent: Thursday, December 09, 2010 1:48 PM

To: Brenner, Wendy

Subject: RE: Enyart: Proposal for Third Preliminary Injunction

| spoke further with Stephanie. She is willing to use NCBE's computer, provided she has adequate time and
support beforehand to ensure that the software is working and everything is set up, so that she does not need to
deal with technological issues in the middle of the examination week.

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An alternative proposal that would address her concerns is that we largely keep to the terms of the second
preliminary injunction, but extend the time and support for set up prior to the examination:

e NCBE makes its laptop available on Thursday, February 17, 2011 for inspection by Stephanie and a tech
person of Stephanie's choice to make certain that the software is loaded in such a way that it works (that
is, we get the computer to read something). Someone is available who has administrative privileges to
alter programs on the laptop, if necessary.

e NCBE makes its laptop available once again on Monday, February 21, 2011, for Stephanie to set up her
peripherals at the same time that she sets up the peripherals for her own laptop that she will use for the
written portion of the exam. From that time forward until Stephanie takes the MBE portion of the exam (on
Saturday and Sunday, February 26 and 27, 2011) the NCBE laptop would remain set up with the
peripherals. That is, there would be two laptops set up in the guarded examination room, and the
desk with the laptop for the MBE would basically be moved into position at the end of the written exam
and prior to the MBE portion of the exam.

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